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1                                                              Judge Zilly
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8                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
9                                          AT SEATTLE
10

11   UNITED STATES OF AMERICA,              )
                                            )                  NO. CR05-0424TSZ
12                          Plaintiff,      )
                                            )
13              v.                          )                  ORDER
                                            )                  SETTING TRIAL DATE
14   WADE B. COOK, and                      )
     LAURA M. COOK,                         )
15                                          )
                      Defendants.           )
16   _______________________________________)
17           The Court, having conducted status conferences on January 19, 2006, March 3,
18   2006, and April 4, 2006, concerning appropriate dates for trial and pretrial motions, and
19   having heard arguments of counsel and having considered the parties’ stipulation herein,
20   HEREBY ORDERS:
21           Trial of this matter shall be scheduled for January 16, 2007. The Court finds,
22   pursuant to 18 U.S.C. § 1361(8)(B)(ii), that this case is unusual and complex due to the
23   nature of the prosecution demonstrated by the large volume of discovery, the large
24   number of witnesses, the number of tax years involved, and the need for experts. In
25   addition, counsel for the defendants have several other trials already scheduled which
26   limits their availability. The continuance granted here is necessary to permit the
27   defendants’ continuity of counsel and lack of a continuance would deny those attorneys
28   time necessary for effective preparation for this criminal trial, taking into account the

     (Proposed) Order Setting Trial Date - 1                                       UNITED STATES ATTORNEY
                                                                                    700 Stewart Street, Suite 5220
     U.S. v. Cook, et al (CR05-0424Z)                                              Seattle, Washington 98101-1271
                                                                                            (206) 553-7970
              Case 2:05-cr-00424-TSZ           Document 67    Filed 04/07/06       Page 2 of 2



1    exercise of due diligence. As a result, it is unreasonable to expect adequate preparation
2    for trial within the time limits established under the speedy trial act, 18 U.S.C. § 1361.
3            The Court therefore finds that the ends of justice served by continuing this trial
4    outweighs the best interest of the public and the defendants in a speedier trial, and that
5    the period of delay resulting from this continuance, from March 13, 2006, until January
6    16, 2007, is exludable time pursuant to 18 U.S.C. § 3161(8)(A).
7            It is so ordered.
8            Dated: April 7, 2006


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                                                   Thomas S. Zilly
11
                                                   United States District Judge
12

13   Agreed and approved:
14

15   s/ Kurt P. Hermanns                           s/ Angelo Calfo and s/ Scott Schill *
     KURT P. HERMANNS                              ANGELO CALFO and SCOTT SCHILL
16   Assistant United States Attorney              Counsel for Wade B. Cook
17

18

19   s/ Robert Westinghouse                        s/ Jeffrey Robinson and s/ Amanda Lee *
20
     ROBERT WESTINGHOUSE                           JEFFREY ROBINSON and AMANDA LEE
     Assistant United States Attorney              Counsel for Laura M. Cook
21

22

23                                                 * per telephone authorization

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     (Proposed) Order Setting Trial Date - 2                                          UNITED STATES ATTORNEY
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